          Entered on Docket April 21, 2023                       Below is the Judgment of the Court.



                                                                  __________________________
 1                                                                Timothy W. Dore
                                                                  U.S. Bankruptcy Court Judge
 2
                                                                  (Dated as of Entered on Docket date above)
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10                       IN THE UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
11

12    In re

13    ZENA M. DODSON                                     Case No.: 14-18117-TWD
14                                            Debtor.
15
      ZENA M. DODSON,                                    Adv. No: 22-01052-TWD
16
                                             Plaintiff, EX PARTE CONSENT JUDGMENT
17                          v.                          DISCHARGING STUDENT LOAN DEBT
18
      UNITED STATES DEPARTMENT OF
19    EDUCATION,

20                                         Defendant.

21

22            Plaintiff Zena M. Dodson (Plaintiff) and Defendant United States Department of
23
     Education (DOE) filed an “Ex Parte Joint Motion for Entry of Consent Judgment Discharging
24
     Student Loan Debt” (Joint Motion). For the reasons stated in the parties’ Joint Motion, the Court
25
     finds that Plaintiff is entitled to discharge her student loan debt, as described in the Complaint
26


      EX PARTE CONSENT JUDGMENT DISCHARGING STUDENT                        UNITED STATES ATTORNEY
      LOAN DEBT - 1                                                     700 STEWART STREET, SUITE 5220
      Dodson v. Dept. of Education, No. A22-01052                             SEATTLE, WA 98101
                                                                               Tel. 206-553-7970
      Case 22-01052-TWD           Doc 22     Filed 04/21/23     Ent. 04/21/23 13:53:03           Pg. 1 of 2
                                                                Below is the Judgment of the Court.




     [dkt. no. 1] ¶ 2.6 (the Debt). Accordingly, the Court GRANTS the Joint Motion and enters the
 1

 2   following Consent Judgment:

 3
               1.   Repaying the Debt would impose an undue hardship on Plaintiff under 11 U.S.C.
 4
     § 523(a)(8).
 5
               2.   The Debt is therefore discharged, effective today, pursuant to the general
 6
     discharge granted April 2, 2015, under 11 U.S.C. § 727, in Case No. B14-18117.
 7

 8             3.   Plaintiff and DOE shall bear their own costs and attorney fees related to this

 9   action.
10
                                               /// END OF ORDER ///
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12

13
     s/ Latife H. Neu
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     Co-counsel for Plaintiff
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18
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21   aaron@defendstudents.org
22
     s/Kyle A. Forsyth
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24   U.S. Department of Justice
     Western District of Washington
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26   Seattle, WA 98101
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      EX PARTE CONSENT JUDGMENT DISCHARGING STUDENT                      UNITED STATES ATTORNEY
      LOAN DEBT - 2                                                   700 STEWART STREET, SUITE 5220
      Dodson v. Dept. of Education, No. A22-01052                           SEATTLE, WA 98101
                                                                             Tel. 206-553-7970
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